                                                                         Page 1

1
2    UNITED STATES DISTRICT COURT
3    SOUTHERN DISTRICT OF NEW YORK
4    ---------------------------------------x
     PHARMACYCHECKER.COM LLC,
5
                                  Plaintiff,             Civil Action No.
6
                          v.                             7:19-cv-07557-KMK
7
     NATIONAL ASSOCIATION OF BOARDS OF
8    PHARMACY, ALLIANCE FOR SAFE ONLINE
     PHARMACIES, CENTER FOR SAFE
9    INTERNET PHARMACIES LTD., and
     PARTNERSHIP FOR SAFE MEDICINES, INC.,
10
                                  Defendants.
11   ---------------------------------------x
                                  9:28 a.m.
12                                March 1, 2022
13
14             VIDEOTAPED VIRTUAL DEPOSITION of
15       DR. TOD COOPERMAN, a Witness in the
16       above entitled matter, pursuant to
17       Notice, before Erica Ruggieri, a
18       Registered Professional Reporter,
19       Certified Livenote Reporter and Notary
20       Public of the State of New Yorµ.
21
22
23
24
25

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1                           COOPERMAN
2    for that as well.               And then the
3    pharmacy is accredited or verified,
4    you µnow we verified all their
5    credentials.           They -- they have the
6    opportunity to be listed on our
7    site.
8              I believe thereùs two
9    sections, one is a listing of
10   pharmacies and another one is
11   listing by -- by medication.                        So
12   they have opportunities to
13   participate in both of those.
14             And thereùs a fee paid if
15   someone clicµs for more information
16   from our site to their site.
17        Ï.       And so thatùs a different
18   program, rightá             Thatùs the listing
19   programá
20        A.       Well, you canùt be in the
21   listing program unless you are
22   verified.
23        Ï.       Right.        But so if we are
24   just going to put PharmacyChecµerùs
25   revenue into different bucµets,

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1                           COOPERMAN
2              MR. LERNER:           Objection to
3     form.
4         A.       We are -- we are looµing at
5    whether they comply with our regu-
6    -- our rules and requirements.
7         Ï.       Do your rules and
8    requirements, you µnow, include
9    compliance with U.S. lawá
10        A.       We are only -- we are
11   focused on our -- our requirements.
12   We are not looµing at -- we are not
13


15        Ï.       Does PCC determine whether
16   its accredited pharmacies are
17   complying with the law of the
18   jurisdiction in which they are
19   locatedá
20        A.       I believe we do.
21        Ï.       And in what ways do you
22   determine that they are in
23   compliance with the law of the
24   jurisdiction in which they are
25   locatedá

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1                           COOPERMAN
2         Ï.       Do you have any reason to
3    believe that thatùs changedá
4         A.       No.
5         Ï.       Oµay.       How does the bidding
6    system worµá
7         A.       I would defer to Gabe
8    Levitt on that.
9         Ï.       So does that mean you have
10   no µnowledge on that topicá
11        A.       Itùs been years since I
12   have been consulted on that topic.
13




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1                        COOPERMAN
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1                           COOPERMAN
2




14        Ï.       So is there someone at
15   PharmacyChecµer.com who is in a
16   sales role trying to recruit
17   pharmaciesá
18        A.       We donùt have, I believe, a
19   salesperson at PharmacyChecµer.
20        Ï.       So is it correct that
21   PharmacyChecµer is not maµing any
22   attempt to actively recruit new
23   pharmacies participating in its
24   programsá
25        A.       I donùt µnow.

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1                           COOPERMAN
2    saying.       Itùs just the placement on
3    the page has nothing to do with
4    safety, or reliability of the
5    pharmacy, correctá
6         A.       Well, being placed on the
7    page means theyùve already met all
8    these criteria.             Doesnùt maµe one
9    safer than another.
10        Ï.       Right.        So the ranµing on
11   the page, you µnow the order in
12   which pharmacies are listed is --
13        A.       Right.
14        Ï.       -- solely determined by how
15   much they bid to pay for costs per
16   clicµ and nothing to do with their
17   safety or reliability for purchasing
18   online medication from, compared to
19   other pharmacies on the pageá
20        A.       Correct.
21




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1                           COOPERMAN
2




18        Ï.       For the purpose of drawing
19   traffic to their website for online
20   purchases, correctá
21        A.       Not necessarily, but it
22   helps them reach the consumer.
23   Thatùs what we wrote.
24        Ï.       So I understand that
25   pharmacies can choose between the

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1                           COOPERMAN
2    drugs in comparison to the
3    international online pharmacy price
4    instead of providing the price that
5    would be obtainable using the
6    prescription drug discount cardá
7         A.       No.      No, not necessarily.
8    I donùt µnow.            There could be
9    situations certainly where the
10   GoodRx price is better than the
11   discounted drug price.
12        Ï.       Oµay.       If you turn to the
13   first page of Exhibit 7, the e-mail,
14   bottom half of the first page, Bates
15   numbered 0238085.               Itùs the e-mail
16   from Gabriel Levitt to Lucia
17   Mueller.       The third paragraph says:
18   þPharmacyChecµerùs mission is drug
19   price transparency because thatùs
20   what helps Americans best afford
21   medicine in this broµen marµet.þ
22             You agree with that statementá
23        A.       This is from Gabe, this
24   messageá
25        Ï.       Yeah.

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1                           COOPERMAN
2    users could use the site better.
3         Ï.       And was the primary purpose
4    for Spanish-speaµing users in the
5    United Statesá
6         A.       Not necessarily.
7              MS. PLUNKETT:            Oµay.        You may
8     distribute.           Iùm showing you a
9     document thatùs being marµed as
10    Cooperman Exhibit 10.
11             (Cooperman Exhibit 10,
12    PharmacyChecµer.com release of the
13    launch of a Spanish version of the
14    website, marµed for identification,
15    as of this date.)
16        Ï.       Have you seen this document
17   beforeá
18        A.       I donùt -- I donùt recall.
19        Ï.       Do you see that this was a
20   release on April 21, 2016á
21        A.       Yes.
22        Ï.       Oµay.       And it talµs about
23   PharmacyChecµer.com launching a
24   Spanish version of the website.
25             Do you see thatá

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1                           COOPERMAN
2         A.       Uh-huh.
3         Ï.       Oµay.
4         A.       Well, yeah.            Yeah, oµay.
5         Ï.       Oµay.       And then do you see
6    the second paragraph:                  þNo one
7    living in U.S. should have to forego
8    filling a prescription because of
9    high drug prices, especially when
10   lower prices on the same drugs are
11   available to informed consumers says
12   Tod Cooperman, M.D., CEO,
13   PharmacyChecµer.com.                 We are pleased
14   to extend our information to the
15   Spanish-speaµing community.
16   According to the Pew Research Center
17   38 percent of Hispanics living in
18   the U.S. speaµ mainly Spanish.þ
19             So Dr. Cooperman, does that
20   refresh your recollection that when
21   PharmacyChecµer.com launched the
22   Spanish language version of its
23   website, it was focused on
24   Spanish-speaµing consumers in the
25   United Statesá

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1                           COOPERMAN
2    import it unlawfully from overseasá
3         A.       Iùm not encouraging it.
4         Ï.       Letùs turn to the next page
5    of that exhibit.              The first full
6    paragraph states:               þImporting
7    medication for personal use in the
8    U.S. remains technically illegal
9    under most circumstances but people
10   are not being pursued or
11   prosecuted.þ
12             Do you agree with that
13   statementá
14        A.       Yes.
15        Ï.       Oµay.       Handing you whatùs
16   been marµed as Exhibit 12.                      This is
17   a blog post on PharmacyChecµer
18   blog.com from February 8, 2017.
19   Titled CEO of PharmacyChecµer on
20   Peopleùs Pharmacy Radio Talµing
21   Safety and Savings on Narrow
22   Therapeutic Index Drugs.
23             (Cooperman Exhibit 12, Blog
24    post on PharmacyChecµer blog.com,
25    marµed for identification, as of

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1                           COOPERMAN
2    nothing to do with -- with
3    medication or pharmacies and we also
4    provide them the opportunity, and if
5    you looµ at our testimonialùs page
6    on ConsumerLab, itùs rare you will
7    see a full name.
8           Ï.     Are you aware of any
9    doctors recommending PCC and getting
10   a warning letter or inquiry from the
11   FDAá
12          A.     I donùt recall µnowledge of
13   that, no.
14          Ï.     Iùd liµe to talµ a little
15   bit now about CanadaDrugs.                      Are you
16   familiar with the entity µnown as
17   CanadaDrugsá
18          A.     Somewhat.
19          Ï.     Oµay.       What is your
20   familiarity with that entityá
21          A.     Itùs a pharmacy that has
22   been in our program.
23          Ï.     And when was it in your
24   programá
25          A.     I donùt µnow the years.

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1                           COOPERMAN
2         Ï.       It was accredited by
3    PharmacyChecµer.comá
4         A.       I believe it was.
5         Ï.       And Iùm going to use
6    CanadaDrugs to refer to
7    CanadaDrugs.com and all of the
8    domains and pharmacies associated
9    with it.       Does that maµe senseá
10        A.       I donùt µnow if it maµes
11   sense but thatùs oµay with me if
12   thatùs what you want to do.
13        Ï.       Oµay.       Now you are aware
14   that CanadaDrugs was ultimately
15   indicted and shut down by the U.S.
16   governmentá
17        A.       I donùt have great
18   familiarity with that case.                       I have
19   some familiarity with it.
20        Ï.       Well, it would be important
21   for you as the CEO of
22   PharmacyChecµer to understand if one
23   of your accredited pharmacies was,
24   you µnow, actually shut down by the
25   U.S. government and indicted for

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1                           COOPERMAN
2    unlawful conduct, rightá
3         A.       I was made aware of the
4    CanadaDrugs situation.
5         Ï.       Right.        And did you stay
6    abreast of it as the CEO of
7    PharmacyChecµer since it was one of
8    your accredited pharmaciesá
9         A.       I was periodically briefed
10   on what was going on there, yes.
11        Ï.       Who provided those
12   briefingsá
13        A.       Generally Gabe Levitt.
14        Ï.       Do you recall when
15   CanadaDrugs was first accredited by
16   PharmacyChecµerá
17        A.       No, I donùt.
18        Ï.       Did CanadaDrugs undergo the
19   same µinds of inspections and
20   processes as other PCC accredited
21   pharmaciesá
22        A.       I would thinµ so.
23        Ï.       Any reason to thinµ there
24   was a different process in place for
25   CanadaDrugs with respect to its

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1                           COOPERMAN
2    accreditationá
3         A.       Different from whatá                   Fromá
4         Ï.       From the standard processes
5    that PCC uses to accredit and verify
6    pharmacies.
7         A.       You µnow, unless -- you
8    µnow, as when you start a company
9    you learn things along the way or
10   there are new situations.                     So I
11   donùt µnow if there was something
12   different about it from, you µnow
13   the pharmacies we had seen to that
14   point.      Possibly, but otherwise it
15   would be a no.
16        Ï.       But not to your µnowledgeá
17        A.       No.
18        Ï.       They were accredited by PCC
19   for many years, correctá
20        A.       I believe so.
21        Ï.       Did PCC ever discover
22   problems with CanadaDrugs through
23   its inspections or its verification
24   programá
25        A.       I donùt recall.

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1                           COOPERMAN
2         Ï.       Approximatelyá
3         A.       I do not recall.
4         Ï.       More than a million
5    dollarsá
6         A.       No.
7         Ï.       Letùs turn to tab 46.
8              (Cooperman Exhibit 19, Warning
9     Letter, Bates FDA CDER 0001999,
10    marµed for identification, as of
11    this date.)
12        Ï.       Iùm showing you whatùs been
13   marµed as Exhibit 19.                  This is a
14   document produced by the FDA bearing
15   FDA CDER 0001999 as a Bates number.
16   The title is Warning Letter and itùs
17   dated December 6, 2016.
18             Have you ever seen this
19   warning letter beforeá
20        A.       I do not recall.
21        Ï.       Have you heard about this
22   warning letterá
23        A.       I donùt recall.
24        Ï.       Do you µnow who Global Drug
25   Supply isá

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1                           COOPERMAN
2          A.      It sounds familiar, but I
3    do not -- do not µnow.
4          Ï.      Does Global Drug Supply
5    have any relationship to
6    CanadaDrugs.com to your µnowledgeá
7          A.      I donùt µnow.
8          Ï.      Oµay.       If I could direct
9    your attention to footnote 1.                        If
10   you could read that and let me µnow
11   if it refreshes your recollection as
12   to who Global Drug Supply isá
13         A.      Not much other than they
14   are both under criminal indictment,
15   you µnow.
16         Ï.      Was Global Drug Supply a
17   PCC accredited pharmacyá
18         A.      I donùt recall.
19         Ï.      Actually, if you could turn
20   bacµ to the -- the indictment
21   document that we were just looµing
22   at.    If you could looµ at paragraph
23   11.
24         A.      Oµay.
25         Ï.      Which states or alleges:

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1                           COOPERMAN
2    þDefendant Global Drug Supply was a
3    subsidiary of CanadaDrugs based in
4    Barbados that assisted in the
5    illegal clinical drug distribution
6    enterprise.þ
7         A.       Oµay.
8         Ï.       Does that refresh your
9    recollection as to a relationship
10   between Global Drug Supply and
11   CanadaDrugsá
12        A.       It says it was a
13   subsidiary.          Oµay.
14        Ï.       Oµay.       And if you looµ at
15   paragraph 14, alleges:                   þDefendant
16   Thomas ùTomù Haughton was the
17   president of Rocµley Ventures and
18   Global Drug Supply.þ
19        A.       Oµay.
20        Ï.       We have seen Mr. Haughtonùs
21   name in other places in the
22   indictment.
23             Does that refresh your
24   recollection as to relationship
25   between Global Drug Supply and

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1                           COOPERMAN
2    CanadaDrugsá
3         A.       Not really.
4         Ï.       Does it refresh your
5    recollection that Global Drug Supply
6    was a PCC accredited pharmacyá
7         A.       No.
8         Ï.       Iùm going to represent to
9    you that according to PCCùs general
10   ledger Global Drug Supply was a PCC
11   accredited pharmacyá
12        A.       Well, thatùs the ledger.
13   That may be if they are affiliated
14   or a subsidiary perhaps it is maµing
15   payment so the payment was received
16   from Global Drug Supply.                    I donùt
17   µnow if they were accredited or not.
18        Ï.       Oµay.       So Iùm sorry, had
19   you seen this warning letter before
20   or heard about itá
21        A.       I donùt recall.
22        Ï.       Oµay.       So the opening
23   paragraph of the letter addressed to
24   Global Drug Supply says that your
25   firm, Global Drug Supply --

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1                           COOPERMAN
2         A.       Wait, wait, sorry.                  Where
3    are we againá
4         Ï.       The first paragraph of the
5    warning letter.
6         A.       Oµay.
7         Ï.       þFDA has determined that
8    your firm,þ meaning Global Drug
9    Supply, þcauses the introduction of
10   unapproved new drugs and misbranded
11   drugs into the U.S. by shipping to
12   U.S. consumers in violation of a
13   number sections of the Federal Food,
14   Drug and Cosmetic Act.þ
15             Do you see thatá
16        A.       Yes.
17        Ï.       And if you turn to the
18   second page, the letter outlines
19   several examples of why shipping
20   drugs not pacµaged or labeled for
21   the U.S. could be dangerous.                        The
22   first example provided in the letter
23   is Pristiq.þ
24             Do you see that discussion of
25   Pristiqá

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1                           COOPERMAN
2         A.       I see it.
3         Ï.       Oµay.       And it says:
4    Shipping an unapproved version of
5    this drug to U.S. consumers is
6    particularly concerning given that
7    FDA approved Pristiq bears a boxed
8    warning commonly referred to as a
9    blacµ box warning which is the
10   strongest warning FDA requires
11   indicating the drug carries a
12   significant risµ of serious or even
13   life threatening adverse events.þ
14             Do you see thatá
15        A.       Yes.
16        Ï.       Oµay.       And that warning was
17   absent from foreign pacµaged drugs
18   that CanadaDrugs and Global Supply
19   was shipping, rightá
20        A.       I donùt µnow.              Does it say
21   that thereá
22        Ï.       Well, a drug ordered from
23   an overseas pharmacy thatùs not
24   labeled in accordance with FDA
25   regulations would not carry an FDA

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1                           COOPERMAN
2    blacµ box warning, would itá
3         A.       It might depending on what
4    those, you µnow, regulations are in
5    that country where itùs sold.
6         Ï.       But it wouldnùt be the
7    FDAùs blacµ box warning, correctá
8         A.       Unless it is the same.                     I
9    donùt µnow.
10        Ï.       Iùm sorry, whatá
11        A.       Unless they are the same
12   warning.
13        Ï.       So if a consumer ordered
14   Pristiq from a PCC accredited
15   pharmacy, according to this warning
16   letter it would not get the blacµ
17   box warning that the drug could
18   cause suicidal ideation for example,
19   rightá
20        A.       Well, I donùt µnow that it
21   was sold by a PharmacyChecµer
22   approved pharmacy.
23        Ï.       If a consumer ordered
24   Pristiq from a PCC accredited
25   pharmacy located overseas, it also

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1                           COOPERMAN
2    would not get the blacµ box warning
3    required by the FDA that it can
4    cause a life threatening serotonin
5    syndrome if combined with other --
6    certain other medications, correctá
7         A.       No.
8         Ï.       And the next example
9    provided in this letter from the FDA
10   is Exforge which bears a blacµ box
11   warning that the drug can cause harm
12   or death to an unborn baby.
13             Do you see that discussion in
14   the next paragraph on page 2á
15        A.       What paragraph againá
16        Ï.       Second full paragraph on
17   page 2 of the warning letter.
18        A.       I see what it says.                   Whatùs
19   your questioná
20        Ï.       Oµay.       Well, the FDA stated
21   that the Exforge product shipped to
22   the U.S. by Global Drug Supply
23   contains no such blacµ box warning.
24             Do you see thatá
25        A.       I see it.

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1                           COOPERMAN
2         Ï.       So if a consumer ordered
3    from Exforge -- striµe that.
4              If a consumer ordered Exforge
5    from Global Supply when it was a PCC
6    accredited pharmacy, it would be
7    ordering a drug that did not contain
8    the FDAùs blacµ box warning
9    according to the FDA, correctá
10             MR. LERNER:           Objection.
11        A.       Well, first we donùt µnow
12   if it was a PCC accredited pharmacy.
13   We donùt µnow even if it was if it
14   was selling Exforge or that that
15   drug was listed, we had information
16   on it.      So yeah, I donùt
17   understand --
18        Ï.       Well --
19        A.       -- the relevance of your
20   question.
21        Ï.       Assuming that that Global
22   Supply -- Global Drug Supply was a
23   PCC accredited pharmacy, according
24   to the FDA if a U.S. consumer
25   ordered Exforge from Global Drug

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1                           COOPERMAN
2    Supply, you µnow, during the time it
3    was accredited by PCC, the product
4    that it would receive would not
5    contain the FDA required blacµ box
6    warning.       Thatùs what this warning
7    letter states, correctá
8         A.       Thatùs what it states.                     I
9    believe that if it was shipped --
10   yeah, thatùs what it states.
11        Ï.       And so the lacµ of FDA
12   blacµ box warning is one potential
13   risµ if a U.S. consumer orders a
14   drug from a foreign online pharmacy,
15   correctá
16        A.       Only if a pharmacy doesnùt
17   add that information.                  Pharmacies,
18   you µnow, provide all µinds of
19   information along with medication.
20        Ï.       But you would agree that is
21   a risµ, correctá
22        A.       If that information wasnùt
23   provided, that would be a risµ.
24        Ï.       So on the last page of the
25   letter, which is Bates numbered

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1                           COOPERMAN
2    ending in 202, the FDA details the
3    dangers and potential harm that can
4    come from consumers purchasing
5    unapproved or misbranded drugs.
6              Do you see that in the second
7    full paragraphá
8              For example, the FDA states:
9    þUnapproved foreign versionsþ --
10        A.       What line are you oná
11        Ï.       The second full paragraph.
12        A.       þAdditional examples,þ
13   thatùs where you areá
14        Ï.       No.      Unapproved foreign
15   versions.        Do you see the second
16   full paragraph on the -- no, last
17   page.      I thinµ you are on the
18   second-to-last page.                 Thanµ you.
19   The one ending in 202.
20        A.       Second paragraph, oµay.
21        Ï.       Right.        þSo unapproved
22   foreign versions of FDA approved
23   drugs often have different trade
24   names or manufacturers and may have
25   substantially different risµ

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1                           COOPERMAN
2    profiles due to changes in drug
3    formulations, drug delivery methods,
4    directions for use or
5    contraindications and warnings.                          Any
6    and all of these factors may harm
7    consumers who are unaware that they
8    are not receiving the same
9    medication prescribed by their
10   healthcare provider practitioners.
11   Taµing an unapproved drug in place
12   of the FDA product can negatively
13   affect patient outcomes because
14   healthcare practitioners may
15   unµnowingly maµe subsequent
16   treatment decisions based on the
17   patientùs response to the unapproved
18   drug rather than to the approved
19   drug that was prescribed.                     This can
20   also cause potentially dangerous
21   drug interactions with the patientùs
22   other medications.þ
23           So do you agree with that
24   statement by the FDA in this warning
25   letter as to the risµs of unapproved

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1                           COOPERMAN
2    foreign versions of FDA approved
3    drugsá
4         A.       Iùd have to more carefully
5    really read this through.                     Because
6    this information is disclosed to the
7    consumer about, you µnow, warnings
8    et cetera, that would mitigate
9    concerns -- yeah, in many cases
10   these are the same formulations,
11   drug delivery methods, et cetera.
12        Ï.       But do you agree that the
13   risµs listed there by the FDA are,
14   in fact, risµs that exist with
15   respect to purchasing unapproved
16   drugs dispensed overseasá
17        A.       It depends how they are
18   dispensed and what the drugs are.
19   But potentially.
20        Ï.       And do you -- does
21   PharmacyChecµer disclose that
22   potential risµ to users of its
23   website anywhere on its websiteá
24        A.       I thinµ we have all µinds
25   of cautions about medication.                        I

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1                           COOPERMAN
2    donùt µnow specifically if we
3    address these or not.
4          Ï.      Oµay.       So you donùt recall
5    any specific sections of the
6    PharmacyChecµer website that warned
7    consumers of these particular risµs
8    identified by the FDA in that
9    warning letterá
10         A.      They may be there.                  I donùt
11   recall.
12         Ï.      Oµay.       Is that something
13   that you typically discuss when you
14   are interviewed in one of the radio
15   shows that you say you frequently
16   doá
17         A.      Most of the radio programs
18   that I do have nothing to do with
19   this topic or -- or drug
20   importation.
21         Ï.      So you donùt typically do
22   radio shows and interviews where you
23   disclose the risµs of U.S. consumers
24   importing mislabeled drugs and, for
25   instance, the lacµ of a blacµ box

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1                           COOPERMAN
2    game.
3         Ï.       Oµay.       Are any of
4    PharmacyChecµerùs international
5    online pharmacies licensed to
6    dispense in all 50 states in the
7    United Statesá
8         A.       Are any of the pharmacies
9    in the program at that pointá
10        Ï.       Were any of the
11   international online pharmacies
12   accredited by PharmacyChecµer
13   licensed to dispense by all 50
14   states in the United Statesá
15        A.       The international ones are
16   probably not.
17        Ï.       And do any of the
18   pharmacies listed on your website,
19   does the website note that they ship
20   only to particular states in the
21   U.S.á
22        A.       Not that Iùm aware of.
23        Ï.       Oµay.       Indeed, all of the
24   online international pharmacies
25   accredited by PharmacyChecµer.com

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1                           COOPERMAN
2    offer to ship to the entire United
3    States, correctá
4           A.      I believe they ship to the
5    U.S.        You µnow, the actual
6    definition and whether it includes
7    territories or whatever, but yes, I
8    believe itùs not specific to states,
9    certain states.
10          Ï.      And PharmacyChecµer does
11   not require documentation of
12   state-specific licenses for its
13   international accredited pharmaciesá
14          A.      Right.       If they have
15   presence in the U.S., you µnow, a
16   pharmacy in the U.S. absolutely.                              If
17   they, you µnow, they are elsewhere,
18   we would not expect that.
19          Ï.      Right.       So even if they
20   ship to anywhere in the United
21   States, PCC does not require them to
22   be licensed in any or all statesá
23          A.      Unless they are a U.S.
24   based pharmacy.
25          Ï.      Right.       Iùm talµing about

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1
2    STATE OF NEW YORK                   )
3                      ss.:
4    COUNTY OF NEW YORK                  )
5
6                I, ERICA L. RUGGIERI, RPR and a
7       Notary Public within and for the State
8       of New Yorµ, do hereby certify:
9             That I reported the proceedings
10      in the within-entitled matter, and
11      that the within transcript is a true
12      record of such proceedings.
13            I further certify that I am not
14      related by blood or marriage, to any
15      of the parties in this matter and
16      that I am in no way interested in the
17      outcome of this matter.
18            IN WITNESS WHEREOF, I have
19      hereunto set my hand this 16th day of
20      March, 2022.
21
                                         äû5025,Signatureûâ
22            ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
23            ERICA L. RUGGIERI, RPR, CSR, CLR
24
25

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